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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENÉ SOULÉ,
ALICE WASHINGTON, CLEE EARNEST
LOWE, DAVANTE LEWIS, MARTHA DAVIS,                    Case No. 3:22-cv-00211-SDD-SDJ c/w
AMBROSE SIMS, NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”) LOUISIANA STATE
CONFERENCE, and POWER COALITION FOR
EQUITY AND JUSTICE,

                     Plaintiffs,

        v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana,

                     Defendant.

EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, and TRAMELLE
HOWARD,
                                                      Case No. 3:22-cv-00214-SDD-SDJ
                     Plaintiffs,

        v.

R. KYLE ARDOIN, in his official capacity as
Louisiana Secretary of State,

                     Defendant.


                   MOTION TO ADMIT QIZHOU GE PRO HAC VICE
        NOW INTO COURT, come Plaintiffs Edward Galmon, Sr., Ciara Hart, Norris
Henderson, and Tramelle Howard (collectively “Plaintiffs”), by and through undersigned counsel,
who respectfully move this Honorable Court pursuant to Local Civil Rule 83(b)(8) for an order
admitting Qizhou Ge to appear pro hac vice in the above-captioned case as co-counsel for
Plaintiffs.
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       I am confident Ms. Ge will acquit herself uprightly in proceedings before this Court in the
above-captioned matter. In further support of this Motion, Qizhou Ge’s declaration and certificate
of good standing are attached, along with a proposed order admitting Ms. Ge pro hac vice.

Dated: August 29, 2023

                                             /s/ J.E. Cullens, Jr.____________________
                                             J.E. Cullens, Jr. (Bar Roll No. 23011)
                                             Andrée Matherne Cullens (Bar Roll No. 23212)
                                             Stephen Layne Lee (Bar Roll No. 17689)
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                                             Attorneys for Plaintiffs




                                CERTIFICATE OF SERVICE
       I hereby certify that on August 29, 2023 the Pro Hac Vice Motion for Qizhou Ge was filed
electronically with the Clerk of Court using the CM/ECF system.

                                              /s/ J.E. Cullens, Jr.__________
                                              J.E. Cullens, Jr.
